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               Exhibit A
   Case Case
        1:20-cv-03384-VEC-KHP
              1:20-cv-03384-AJN Document
                                 Document19
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       8/25/2020



 Benthos Master Fund, Ltd.,

                       Petitioner,
                                                                               20-cv-3384 (AJN)
                –v–
                                                                                     ORDER
 Aaron Etra,

                       Respondent.



ALISON J. NATHAN, District Judge:

       On August 17, 2020, Petitioner filed a request to lift the automatic Rule 62(a) stay in this
case. Dkt. No. 17. The Court directed Respondent to file any opposition to the request no later
than August 20, 2020. As of this date, the Court is not in receipt of Respondent’s opposition.
Petitioner’s request to lift the automatic Rule 62(a) stay is GRANTED.

       SO ORDERED.


Dated: August 24, 2020                            __________________________________
       New York, New York                                  ALISON J. NATHAN
                                                         United States District Judge
